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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 22-Civ-60710-COOKE/HUNT

  CHRISTOPHER GUARNIZO,

  Plaintiff,

  vs.

  THE CHRYSALIS CENTER, INC.,

  Defendant.
  ____________________________________/

                           ORDER OF REFERRAL AND
               ORDER REGARDING COURT PRACTICES AND PROCEDURES
           THIS MATTER is before the Court on the filing of a Complaint. To efficiently resolve this
  dispute, it is ORDERED as follows:
 I.     COUNSEL TO MEET AND FILE JOINT SCHEDULING REPORT
           Within 45 days of service upon Defendant, counsel will file a Joint Scheduling Report
  and Joint Proposed Scheduling Order pursuant to Local Rule 16.1(b)(2), with a complete
  service list containing the name, address, e-mail address, phone number, fax number, and party
  represented of each counsel.
           Counsel for the Parties will meet in person or telephonically for a scheduling
  conference at least 21 days prior to the date the above Joint Proposed Scheduling Order is due.
  At this conference, the Parties will accomplish the following: (1) determine the appropriate
  case management track for the action pursuant to Local Rule 16.1(a)(2); (2) develop a case
  management plan which sets deadlines in compliance with paragraphs A, B, and C below; and
  (3) discuss settlement in good faith.
        A. The Joint Scheduling Report will include all information required by the eleven
           subsections, (A) through (K), of Local Rule 16.1(b)(2). Unilateral submissions are
           prohibited.
        B. As an attachment to the Parties’ Joint Scheduling Report, and in Compliance with
           Local Rule 16.1(b)(2), the Parties will jointly complete Attachment A to this Order. The
           Parties will insert the specific day, month and year for each listed deadline that applies
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          to the Parties’ case management plan. In completing Attachment A, the Parties will take
          into consideration the suggested pretrial deadlines set out in Attachment B to this Order.
          If the Parties agree that one or more of the proposed deadlines (such as “expert witness
          deadlines”) are not appropriate for this action, they may strike the language and omit
          that proposed deadline in Attachment A. The Parties’ proposed dates will include: (1)
          at least 17 weeks between the deadline for all pretrial dispositive motions and the
          proposed trial date; and (2) at least five weeks between the deadline for the pretrial
          stipulation and the proposed trial date.
       C. As part of the Joint Scheduling Report, the Parties will jointly complete and file with
          the Court the Magistrate Judge Jurisdiction Election Form appended to this Order as
          Attachment C. The Court will not accept unilateral submissions in this regard; thus, a
          “Yes” should be checked only if all Parties agree. If the Parties consent to a full
          disposition of the case by the Magistrate Judge, including trial and entry of final
          judgment, the Parties will jointly file the election form appended to this Order as
          Attachment D.
   Failure to file a joint scheduling report may result in dismissal, default, or the imposition
   of other sanctions, including attorneys’ fees and costs.
 II.   DISCOVERY
          Discovery in this case will be conducted in accordance with the Federal Rules of Civil
   Procedure and Southern District of Florida Local Rules (effective December 1, 2020), except
   that the deadlines under Local Rules 16.1 (d), (e), (h), (j), and (k), may be modified by further
   order of the Court.
III.   MOTIONS, JOINT MOTIONS, AND MOTIONS TO DISMISS
          A. GENERAL INSTRUCTIONS
          In addition to complying with Local Rule 7.1, any motion and accompanying
   memorandum of law will not exceed a combined length of twenty pages, all non-dispositive
   motions must be accompanied by a proposed order, and all motions, memoranda of law,
   proposed orders, and other documents created for the Court’s review will be uploaded from a
   PDF document created within MS Word (and not from a scanned PDF document). Finally,
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  motions, memoranda of law, proposed orders, and other documents created for the Court’s
  review must adhere to the following specifications:
                     1. 12 pt. Calisto MT font;
                     2. One inch margins on all sides;
                     3. 1/2 inch tab setting;
                     4. 1.5 Line Spacing;
                     5. Full Justified;
                     6. Conforming to the exemplar order at Attachment E to this Order;
                     7. Filed electronically with the corresponding motion; and
                     8. In the case of proposed orders, e-mailed as a Microsoft Word (.doc)
                      document to cooke@flsd.uscourts.gov. The subject line of the e-mail will
                      include: (i) case number, (ii) case name, and (iii) docket entry number of
                      the corresponding motion.
   2. JOINT MOTIONS
         Multiple Plaintiffs or Defendants will file joint dispositive motions with co-Parties
  unless there are clear conflicts of positions or grounds for relief.
   3. MOTIONS TO DISMISS
         The filing of a baseless motion to dismiss may result in sanctions, including an award
  of attorneys’ fees. Should Defendant(s) file a motion to dismiss the complaint, the Parties
  shall meet and confer within five (5) days of service of the motion to determine whether
  Plaintiff(s) can resolve the issue by amending the complaint pursuant to Federal Rule of
  Civil Procedure 15(a)(1)(B). Any response in opposition to a motion to dismiss shall include
  a certification of compliance with this Order. Failure to meet and confer in good faith or
  otherwise comply with this order may result in sanctions, including dismissal of this action.
         Failure to comply with the foregoing requirements may result in the motion being
  denied without prejudice.
   4. AMENDED PLEADINGS
       Amended pleadings shall be accompanied by a redline comparison of the original and
  amended pleading. A party need not file a redline comparison when amending as a matter of
  course pursuant to Federal Rule of Civil Procedure 15(a)(1).
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IV.    PHONE CALLS TO CHAMBERS
      1. The Parties may not call Chambers to ask about the status of pending motions, including
         motions for extension of time. The Court is aware of all pending motions and will
         address each of them in due course.
      2. The Parties may not call Chambers if the information the Parties seek, or seek to
         provide, can be conveyed through a filing on the docket.
      3. The Parties may not call Chambers if the information the Parties seek is available from
         other sources, including Court Orders and the Local Rules.
      4. If the Parties do call Chambers for a permissible purpose, counsel for all affected Parties
         must be on the line. Calls from non-attorneys and ex parte calls will not be accepted.
V.     MEDIATION
           The Parties must jointly select a mediator certified under Local Rule 16.2(b), and
  schedule a time, date, and place for mediation. In addition, the Parties must jointly file a
  proposed order scheduling mediation. If the Parties cannot agree on a mediator, they will
  notify the clerk in writing as soon as possible and the Clerk will designate a certified mediator
  on a blind rotation basis. Counsels for all Parties will familiarize themselves with and adhere
  to all provisions of Local Rule 16.2. The Parties will complete mediation at least 30 days prior
  to the calendar call.
VI.    REFERRAL OF CASE TO MAGISTRATE JUDGE
           This case is REFERRED to the Honorable Patrick M. Hunt, United States Magistrate
  Judge for the Southern District of Florida, for appropriate resolution of all non-dispositive
  pretrial matters, as well as motions for attorney’s fees and costs and motions for sanctions, in
  accordance with 28 U.S.C. §§ 636(b)(1)(A) and (B). Motions in Limine and any motion affecting
  deadlines set by the Court's Scheduling Order are excluded from this referral, unless specifically
  referred by separate order.
           The Parties are notified that all subsequent pleadings bearing on matters referred to
  the Magistrate Judge will be so designated by setting forth beneath the case number the
  identity of the Magistrate Judge to which the matter has been referred and the date of the
  Order of Reference.
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         DONE and ORDERED in chambers, Miami, Florida, this 11th day of April 2022.




  Copies furnished to:
  Patrick M. Hunt, U.S. Magistrate Judge
  Counsel of record
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                         Attachment A: Pretrial Deadlines, Pretrial Conference and Trial Date

___________           Joinder of parties and claims, and amendment of pleadings.
(INSERT DATES)
____________          Parties shall furnish opposing counsel with a written list containing the names and addresses of all
fact witnesses intended to be called at trial and only those witnesses listed shall be permitted to testify unless good cause
is shown and there is no prejudice to opposing party. The parties are under a continuing obligation to supplement
discovery responses within ten (10) days of receipt or other notice of new or revised information.

____________            All fact discovery must be completed.

____________           Plaintiff must furnish expert witness list to the Defendant, along with the summaries/reports
required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses shall be permitted to testify. Within the fourteen-
day period thereafter, Plaintiff shall make its experts available for deposition by Defendant.

____________           All dispositive and other pretrial motions not explicitly excluded by Local Rule 7.1(a)(1), and
accompanying memoranda of law must be filed. A minimum of seventeen (17) weeks is required for the Court to review
dispositive motions prior to filing of the joint pretrial stipulation. If no dispositive motions will be filed, clearly note this
fact in the Joint Scheduling Report.

____________           Defendant must furnish expert witness list to the Plaintiff along with the summaries/reports
required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses shall be permitted to testify. Within the fourteen-
day period thereafter, Defendant shall make its experts available for deposition by Plaintiff.

____________            All expert discovery must be completed.

____________         All Daubert and Markman motions and accompanying memoranda of law must be filed. If a
Daubert or Markman hearing is necessary, add that as an additional deadline at the bottom of Attachment A.

____________          Mediation must be completed. (The parties should select the earliest date to maximize resolution
of the case in a manner that promotes client and judicial economy.)

____________            (a) Joint pretrial stipulation must be filed pursuant to Local Rule 16.1(e). The pretrial stipulation
shall include Plaintiff’s non-binding breakdown of damages with corresponding amounts; the witness lists shall be pared
down to those witnesses the parties actually intend to call at trial; and the exhibit lists shall identify the witness introducing
each exhibit. The parties shall meet at least one (1) month prior to the deadline for filing the pretrial stipulation to confer
on the preparation of that stipulation. The Court will not accept unilateral pretrial stipulations, and will strike, sua sponte,
any such submissions; and

(b) Joint Summary of Respective Motions in Limine must be filed. The Summary shall contain a cover page providing
the style of the case and an index of the motions in limine. The Summary shall also include for each evidentiary issue: (i)
a one (1) page motion identifying the evidence sought to be precluded at trial and citing legal authority supporting
exclusion; and (ii) a one (1) page response to the motion providing a statement of the purpose for which the challenged
evidence would be offered and citing legal authority in support of admission of the challenged evidence. The parties shall
work together to prepare the Summary. Prior to submission of the Summary, the parties are encouraged to resolve
evidentiary issues through stipulation.

____________            Final proposed jury instructions (for jury trial) or findings of fact and conclusions of law (for bench
trial) must be submitted. (A courtesy copy shall be submitted to chambers at cooke@flsd.uscourts.gov, in Microsoft Word format).
Each party’s trial witness list, with one-sentence synopsis and time needed for direct and cross examination; proposed
voir dire questions; and deposition designations.

____________            Trial Date.
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                                    Attachment B: Suggested Pretrial Deadlines

31 weeks prior to        Joinder of parties and claims, and amendment of pleadings.
pretrial stipulation

21 weeks prior to        Parties shall furnish opposing counsel with a written list containing the names and addresses
pretrial stipulation     of all fact witnesses intended to be called at trial and only those witnesses listed shall be
                         permitted to testify.
18 weeks prior to        All fact discovery must be completed.
pretrial stipulation

16 weeks prior to        Plaintiff must furnish expert witness list to the Defendant, along with the summaries/reports
pretrial stipulation     required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses shall be permitted to
                         testify. Within the fourteen-day period thereafter, Plaintiff shall make its experts available for
                         deposition by Defendant.
17 weeks prior to        All dispositive pretrial motions and memoranda of law must be filed. A minimum of
pretrial stipulation     seventeen (17) weeks is required for the Court to review dispositive motion prior to filing of
                         the joint pretrial stipulation. If no dispositive motions will be filed, clearly note this fact in the
                         Joint Scheduling Report.
14 weeks prior to        Defendant must furnish expert witness list to the Plaintiff along with the summaries/reports
pretrial stipulation     required by Fed. R. Civ. P. 26(a)(2), and only those expert witnesses shall be permitted to
                         testify. Within the fourteen-day period thereafter, Defendant shall make its experts available
                         for deposition by Plaintiff.

12 weeks prior to        All expert discovery must be completed. If a Daubert or Markman hearing may be necessary,
pretrial stipulation     the parties are to add that as an additional deadline at the bottom of attachment A.

11 weeks prior to        All Daubert and Markman motions and accompanying memoranda of law must be filed. If a
pretrial stipulation     Daubert or Markman hearing is necessary, the parties are to add that as an additional deadline
                         at the bottom of attachment A.

10 weeks prior to        Mediation must be completed. (The parties should select the earliest date to maximize
pretrial stipulation     resolution of the case in a manner that promotes client and judicial economy.)

5 weeks prior to the     (a) Joint pretrial stipulation must be filed pursuant to Local Rule 16.1(e). The pretrial
Friday before trial      stipulation shall include Plaintiff’s non-binding breakdown of damages with corresponding
period                   amounts and other relief sought. The parties shall meet at least one (1) month prior to the
                         deadline for filing the pretrial stipulation to confer on the preparation of that stipulation. The
                         Court will not accept unilateral pretrial stipulations, and will strike, sua sponte, any such
                         submissions; and

                         (b) Joint Summary of Respective Motions in Limine must be filed. The Summary shall contain
                         a cover page providing the style of the case and an index of the motions in limine. The
                         Summary shall also include for each evidentiary issue: (i) a one (1) page motion identifying
                         the evidence sought to be precluded at trial and citing legal authority supporting exclusion;
                         and (ii) a one (1) page response to the motion providing a statement of the purpose for which
                         the challenged evidence would be offered and citing legal authority in support of admission of
                         the challenged evidence. The parties shall work together to prepare the Summary. Prior to
                         submission of the Summary, the parties are encouraged to resolve evidentiary issues through
                         stipulation.

Friday before Calendar   Final proposed jury instructions (for jury trial) or findings of fact and conclusions of law (for
Call                     bench trial) must be submitted. (A courtesy copy shall be submitted to chambers at
                         cooke@flsd.uscourts.gov, in Microsoft Word format). Each party’s trial witness list, proposed voir
                         dire questions, and deposition designations.
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                          Attachment C: Magistrate Judge Jurisdiction Election Form

                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                              Case No. 22-Civ-60710-COOKE/HUNT

  CHRISTOPHER GUARNIZO,

  Plaintiff,

  vs.

  THE CHRYSALIS CENTER, INC.,

  Defendant.
  _________________________________/
                  ELECTION TO JURISDICTION BY A UNITED STATES
               MAGISTRATE JUDGE FOR FINAL DISPOSITION OF MOTIONS

          In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
  above-captioned civil matter hereby jointly and voluntarily elect to have a United States
  Magistrate Judge decide the following motions and issue a final order or judgment with respect
  thereto:
          1.    Motions for Costs                       Yes _____       No _____
          2.    Motions for Attorney’s Fees             Yes _____       No _____
          3.    Motions for Sanctions                   Yes _____       No _____


          ____________          ________________________________________
          (Date)                (Signature-Plaintiff’s Counsel)

          _____________         ________________________________________
          (Date)                (Signature-Plaintiff’s Counsel)

          __________            ________________________________________
          (Date)                (Signature-Defendant’s Counsel)
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                         Attachment D: Magistrate Judge Jurisdiction Election Form

                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             Case No. 22-Civ-60710-COOKE/HUNT

  CHRISTOPHER GUARNIZO,

  Plaintiff,

  vs.

  THE CHRYSALIS CENTER, INC.,

  Defendant.
  ____________________________________/
                           ELECTION TO JURISDICTION BY
                   A UNITED STATES MAGISTRATE JUDGE FOR TRIAL

          In accordance with the provisions of 28 U.S.C. § 636(c), the undersigned parties to the
  above-captioned civil matter hereby jointly and voluntarily elect to have a United States
  Magistrate Judge conduct any and all further proceedings in the case, including trial, and entry of
  final judgment with respect thereto.

          ___________                    _________________________________
          (Date)                         (Signature-Plaintiff’s Counsel)

          ___________                    _________________________________
          (Date)                         (Signature-Plaintiff’s Counsel)


          ___________                    _________________________________
          (Date)                         (Signature-Defendant’s Counsel)

          ___________                    _________________________________
          (Date)                         (Signature-Defendant’s Counsel)
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                                     Attachment E: Exemplar Order

                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            Case No. 22-Civ-60710-COOKE/HUNT

   CHRISTOPHER GUARNIZO,

   Plaintiff,

   vs.

   THE CHRYSALIS CENTER, INC.,

   Defendant.
   ____________________________________/


                                        TITLE OF ORDER
           THIS MATTER is before the Court on the [Plaintiff/Defendant, insert name(s),]
   Motion for [insert motion title], [ECF No. (insert docket entry number)], filed [insert date].
           The Court, having reviewed the Motion and being fully advised in the premises,
   hereby ORDERS and ADJUDGES as follows:
           [Insert text of proposed judgment and order].
           DONE and ORDERED in Chambers, Miami, Florida, this               day of [insert month]
   20__.



                                                      ___________________________________
                                                      MARCIA G. COOKE
                                                      UNITED STATES DISTRICT JUDGE


   Copies furnished to:
   Patrick M. Hunt, U.S. Magistrate Judge
   Counsel of record
